      Case 8:20-cv-00132-DOC-DFM Document 135 Filed 10/13/21 Page 1 of 2 Page ID #:12196




                      1
                                                                                     U.S. DISTRICT COURT
                      2
                      3                                                            OCT ~ 3 ?A21
                      4
                                                                            BYNTRAL DISTRr(G~1'~F CALIFORNIA
                                                                                                     DEPUTY
                      5
                      6
                      7
                      8                    UNITED STATES DISTRICT COURT
                      9     CENTRAL DISTRICT OF CALIFORNIA,SOUTHERN DIVISION
                  10
 a        11 BANC OF CALIFORNIA NATIONAL
             ~                                                      Case No. 8:20-cv-00132-DOC-DFM
             ASSOCIATION,
`~ °`"~ 12                                                          ~.P           JUDGMENT
   ~ m N
   W~~                Plaintiff,
U c'n °o~ 13
           rn ~              VS.
z W QQ~ 14
  ~ W~,J   FEDERAL INSURANCE COMPANY,
a gm~ o 15
V   Q o             Defendant.
~ NWT 16
z      J z^
         ~ f0         r~
 ~     ~O N       ~/        The motion of defendant Federal Insurance Company ("Federal") for
 Q         J J

~           ~ 18 summary judgment(Dkt. 81) and the motion ofPlaintiff Banc of California National
                  19 Association ("Banc")for partial summary judgment(Dkt. 84) came on for hearing
                  20 before this court on August 30, 2021. Carleton Burch of Anderson, McPharlin &
                  21 Conners LLP appeared on behalf of Federal. Robert Wallan of Pillsbury Winthrop
                  22 Shaw Pittman, LLP appeared on behalf ofBanc.
                  23        On consideration ofthe papers and arguments of counsel this court issued its
                  24 order on September 23, 2021 (Dkt. 129). By that order, this court granted Federal's
                  25' motion for summary judgment and denied Banc's motion for partial summary
                  26 judgment.
                  27 ///
                  28 ///

2444888.1 04855-398
                                                                1
                                                      ~
                                                      f }JUDGMENT
       Case 8:20-cv-00132-DOC-DFM Document 135 Filed 10/13/21 Page 2 of 2 Page ID #:12197




                      1        IT IS THEREFORE HERBY ORDERED AND ADJUDGED THAT Banc
                      2 take nothing by its complaint, and that Federal recover its costs.
                      3
                      4 DATED: October(~,2021
                      5
                      6                                                     ~G
                                                                Honorable David O. Carter
                      7
                                                                United States District Court Judge
                      8
                      9
                  10
 a           ~ 11
 ~
 W oN~   12
 Z ~ m N
 z ~~~
 v ~o~ 13
           p~ N

 z~ ~az~
    W Jw¢O 14
 q
a gmUo            IS
 V     ~     O
~ =W°° 16
       J W ~

z  Z_
0 3Q~
W p~N  17
d
~"           ~    10


                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28

2444888.1 04855-398
                                                                   2
                                                         fPROPOSEDI NDGIvIENT
